
100 N.Y.2d 613 (2003)
In the Matter of MAUREEN McNAMARA (Admitted as MAUREEN MARGARET McNAMARA), an Attorney, Appellant.
GRIEVANCE COMMITTEE FOR THE NINTH JUDICIAL DISTRICT, Respondent.
Court of Appeals of the State of New York.
Submitted August 4, 2003.
Decided September 23, 2003.
Motion, insofar as it seeks leave to appeal from the Appellate Division order denying appellant's motion for reargument or, in the alternative, leave to appeal to the Court of Appeals, dismissed upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution; motion for leave to appeal otherwise denied.
